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                                                    December 4, 2020

BY ECF

Honorable Alison J. Nathan
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    City of Almaty, Kazakhstan, et ano. v. Felix Sater, et al.,
              Case No. 19 Civ. 2645 [rel. 15 Civ. 5345] (AJN) (KHP)

Dear Judge Nathan:

       We represent the City of Almaty, Kazakhstan and BTA Bank (the “Kazakh Entities”) and
write pursuant to the Court’s November 30, 2020 Order to inform the Court as to whether the
Kazakh Entities’ intend to move for default judgment against any defendant and by when. [ECF
No. 245.]

        The Kazakh Entities intend to move for default judgment against defendant Ferrari
Holdings LLC, and are prepared to do so by January 15, 2021. With respect to defendant MeM
Energy Partners LLC, the Kazakh Entities likewise anticipate moving for default but are having
ongoing discussions with that company’s owner. So as not to prematurely short-circuit those
discussions, we propose to file a motion with respect to MeM Energy Partners, if necessary, by
February 26, 2021. We can certainly be prepared to file earlier, however, if the Court wishes.

       Thank you for your consideration.

                                                    Respectfully,

                                                     /s/ Matthew L. Schwartz
                                                    Matthew L. Schwartz

cc:    All Counsel of Record (by ECF)
       Michael Soshnick, Esq., counsel for MeM Energy Partners LLC (by email)
